Case 5:13-cV-00173-C Document 6 Filed 08/13/13 Page 1 of 1 Page|D 40

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION
JUAN ANTHONY REYES, JR., )
)
Movant, ) CIVIL ACTION NO.
) 5:13-CV-173-C
V. ) CRIMINAL NO.
) 5:05-CR-083-02-C
UNITED STATES OF AMERICA, )
)
Respondent. )

QM
The Court having considered the Motion for Reconsideration filed by Juan Anthony

Reyes, Jr. on August 12, 2013, is of the opinion that the same should be DENIED.

 

SO ORDERED.
Dated August 13, 2013. M
S R. C INGS
ITED S ATES DISTRIC JU GE

